ENE nel One La mmearniar edd pos erates elle iA

| jj
|1.S, Department of Justice PROCESS RECEIPT AND RETURN
|

4 i
I Unged States Marshals Service See "Instructions for Service of Process by U.S. Marshal"

AINTIFF : COURT CASE NUMBER
PERICLES CLERGEAU 21-10136-LTS
DEFENDANT TYPE OF PROCESS
JOSEPH R. SAMPSON SERVICE

DOC LEGAL DIVISION ATTN:MARGARET MELVILLE, 70 FRANKLIN ST
ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code) s

SUITE 600,BOSTON,MA 02110

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE
AT

Number of process to be
Ja i RE gan Reeth served Wwiththis ROM 285

a :

PERICLES CLERGEAU

Number artie
P.O. BOX 8000 ee os at 3
SHIRLEY,MA 01464
ie one

All Telephone Numbers, and Estimated Times Available for Service): eas

THIS DEFENDANT'S HOME ADDRESS IS UNDER SEAL AND SHALL BE SERVED

Fold

SUMMONS AT THE DOC LEGAL DIV. oa

re of Attorney other Ortgina uesting service on behalf of: IX) PLAINTIFF TELEPHONE NUMBER ‘| DATE" )
: DEFENDANT AAA
= LC DEFE

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE i

I acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve

(Sign only for USM 285 if more < CYP, = }
than one USM 285 is submitted) No. noes 2

I hereby certify and return that I have personally served a have legal evidence of service, 1] have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

Oi hereby certify and return that [ am unable to locate the individual, company, corporation, etc, named above (See remarks below)

Name and title of individual served (ifnot shown above) ly / C1 A person of suitable age and Ween
* : Ly 40 we then residing in defendant's usual place
Kar Mowe M -(Yuian DO . Lexa! Le (/: of abode

Address (complete only different than shown above) Date Time |
: am
{{ holes WiQ5 om
1g

Service Fee Total Mileage Charges] Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal* or
including endeavors) (Amount of Refund*)

(5-00) |.[2 Op: [12
REMARKS: / Dus™ g al iy hk tif)

ikdneteéidiocy |. CLERK OF THE COURT PRIOR EDITIONS MAY BE USED
2. USMS RECORD
3, NOTICE OF SERVICE

4, BILLING STATEMENT®: To be returned to the U.S. Marshal with payment, Form USM-285
if any amount is owed. Please remit promptly payable to U.S. Marshal. Rev. 12/15/80
5, ACKNOWLEDGMENT OF RECEIPT Automated 01/00

GL PEON
Ease L:2h-CyACMISES Beech iRGOS Ao Fage bers
UNITED STATES DISTRICT COURT

for the

DISTRICT OF MASSACHUSETTS

PERICLES CLERGEAU
Plaintiff

Civil Action No.: 1:21-CV—10136-LTS

Vv.

DEPARTMENT OF CORRECTION, ET AL.

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

> Sh Ores
“TWO YOMWMLLAD WE. Ayte. LOSI
RBOSEON MA GaiiO

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -—— or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(2) or (3) -—— you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiff's attorney, whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

ROBERT M. FARRELL
CLERK OF COURT

/s/ — Francis Castilla

Signature of Clerk or Deputy Clerk

ISSUED ON 2021-03-26 15:04:57, Clerk USDC DMA
Case L2L-eV-lOhselalS Beeqwinesitsd RGA zGeh Rage agra

Civil Action No.: 1:21-CV—10136-LTS

PROOF OF SERVICE

(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 () /
wt *.
This summons for (name of individual and title, if any) ave Mogart Lely / [ le D OC l@a
was received by me on (date) LO725-2 l

Cl | personally served the summons on the individual at (place)

on (date) ; or

“| I left the summons at the individual's residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

1 served the summons on (name of individual) Kaa Mure l(s “ Quins , who is

designated by law to accept service of process on behalf of (name of organization) po Cc
Legr| on (date) [-€-2/ ; Or

“| | returned the summons unexecuted because ; or

L! Other (specify) :

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Me b- el Zee 4—

Date Server's Si@nature”

Vy heel eghes C100

Printed name and title

[ Cov'bare Woe, 1506 osten Ud

Server'$ Address O24 zZ/ oO

Additional information regarding attempted service, etc:
